  Case: 1:21-cr-00085-SJD Doc #: 70-1 Filed: 11/03/23 Page: 1 of 1 PAGEID #: 587



Exhibit 1 – Table – Genco Internet Searches




 1/14/2020 10:30:50 PM           St Johns Wort mania - Google Search
 1/14/2020 10:30:50 PM           St Johns Wort mania - Google Search
 1/14/2020 10:30:52 PM           Mania and Psychosis Associated with St. John's Wort and Ginseng
 1/14/2020 10:31:07 PM           St Johns Wort mania - Google Search
 1/14/2020 10:31:15 PM           St. John's Wort: Uses, dosage, and risks
 1/14/2020 10:31:54 PM           St. John's Wort: Uses, dosage, and risks
 1/14/2020 10:31:55 PM           St. John's Wort: Uses, dosage, and risks
 1/14/2020 10:32:08 PM           St Johns Wort mania - Google Search
 1/14/2020 10:32:15 PM           Mania associated with St. John's wort. - PubMed - NCBI
